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                          UNITED STATES BANKRUPTCY COURT

                           CENTRAL DISTRICT OF CALIFORNIA
                                    NORTHERN DIVISION




   In re:    MICHAEL A. HERSHMAN                    Chapter: 7
             LINDA J. HERSMAN                       Bankruptcy Case No.: 9:20-bk-10254




                                 WITHDRAWAL OF CLAIM

  Grant S. Pederson, Trustee, Federson Family Trust, withdraws his Proof ofClaim Number 14
  filed on 3/31/2021, in the amount of$91,104.03.




                                                    Respectfully submitted,




                                                    Grant S. Pederson, Trustee
                                                    Pederson Law Offices
                                                    920 Hampshire Rd., Suite A1
                                                    Westlake Village, CA 91361

                                                    Dated:
